Case 2:10-md-02179-CJB-DPC Document 8963-34 Filed 03/20/13 Page 1 of 2




                     Exhibit 17
           Case 2:10-md-02179-CJB-DPC Document 8963-34 Filed 03/20/13 Page 2 of 2


Douglas, Charles W


From: Ben_Allums@laed.uscourts.gov
>[mailto:Ben_Allums@laed.uscourts.gov]
>Sent: Friday, February 15, 2013 4:02 PM
>To: Steve Herman
>Cc: 'Langan, Andrew'; 'jimr@wrightroy.com'; 'jrice@motleyrice.com';
>*mark.Holstein@bp.com; Godfrey, Richard C.
>Subject: Re: BP Oil - BEL issues
>
>All,
>I have spoken with Judge Barbier about this matter...
>Please e-mail any and all additional submissions to me, with cc to
>eachother, by Monday, Feb. 18th.
>
>Thank you,
>Ben
>
>Benjamin S. Allums
>Judicial Law Clerk
>Chambers of the Hon. Carl J. Barbier
>United States District Court, Eastern District of Louisiana
>(504) 589-7525
>




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